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AO 248 (Rev. S.D. Ind. 09/20) ORDER ON MOTION FOR SENTENCE REDUCTION UNDER 18 U.S.C. § 3582(c)(1)(A)



                            UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF INDIANA

 UNITED STATES OF AMERICA                                    Case No. 1:01-cr-133-SEB-TAB-1

                                                             ORDER ON MOTION FOR
 v.                                                          SENTENCE REDUCTION UNDER
                                                             18 U.S.C. § 3582(c)(1)(A)
 KITRUS BINION                                               (COMPASSIONATE RELEASE)


       Upon motion of ☒ the defendant ☐ the Director of the Bureau of Prisons for a reduction

in sentence under 18 U.S.C. § 3582(c)(1)(A), and after considering the applicable factors provided

in 18 U.S.C. § 3553(a) and the applicable policy statements issued by the Sentencing Commission,

IT IS ORDERED that the motion is:

☒ GRANTED. The defendant's previously imposed sentence of imprisonment of 293 months is
reduced to time served as of Monday, October 5, 2020. His 5-year term of supervised release
remains unchanged.

       ☒The defendant must provide the complete address where the defendant will reside upon
       release to the probation office in the district where the defendant will be released because
       was not included in the motion for sentence reduction.

       ☒ The defendant's previously imposed conditions of supervised release as set forth in the
       judgment of March 14, 2002, are unchanged except as follows: Mr. Binion is also
       ORDERED to: (1) comply with any period of quarantine directed by medical staff and/or
       any state or local health authority; and (2) make contact with the U.S. Probation Office in
       the Southern District of Indiana within 72 hours of his release from the Bureau of Prisons
       ("BOP").

☒ OTHER. The Bureau of Prisons is ordered to release the defendant by 4:00 p.m. on Monday,
October 5, 2020. The defendant's USM Number is 03414-028.

IT IS SO ORDERED.

 Dated:    10/2/2020                                 _______________________________
                                                      SARAH EVANS BARKER, JUDGE
                                                      United States District Court
                                                      Southern District of Indiana


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